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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                               Eastern Division

Stephanie Lukis, et al.
                                    Plaintiff,
v.                                                       Case No.: 1:19−cv−04871
                                                         Honorable Gary Feinerman
Whitepages Incorporated
                                    Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 23, 2022:


         MINUTE entry before the Honorable Gary Feinerman:Given the status report
[240], the status hearing set for 3/28/2022 [239] is stricken and re−set for 4/13/2022 at
9:00 a.m. If a motion for preliminary approval is not filed by 4/4/2022, the parties shall
file a joint status report indicating when such a motion will be filed. Attorneys/Parties
should appear for the hearing by calling the Toll−Free Number: (877) 336−1828, Access
Code: 4082461. Members of the public and media will be able to call in to listen to this
hearing (use toll free number). Please, please be sure to keep your phone on mute when
you are not speaking. Persons granted remote access to proceedings are reminded of the
general prohibition against photographing, recording, and rebroadcasting of court
proceedings. Violation of these prohibitions may result in sanctions, including removal of
court issued media credentials, restricted entry to future hearings, denial of entry to future
hearings, or any other sanctions deemed necessary by the Court. Mailed notice.(jlj, )




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